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                  Michael Faillace & Associates, P.C.
                                       Employment and Litigation Attorneys

60 East 42nd St. Suite 4510                                                   Telephone: (212) 317-1200
New York, New York 10165                                                       Facsimile: (212) 317-1620
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                                                                      April 17, 2019
BY ECF
Honorable James L. Garrity
United States Bankruptcy Judge
One Bowling Green
New York, NY 10004-1408

                 Re:      Cocoletzi et al v. Orly
                          No. 15-11650 (JLG); Adversary Proceeding No. 16-01020 (JLG)

Dear Judge Garrity:

        I write concerning Plaintiffs’ motion for default judgment.

        At the March 26, 2019 conference, the court directed Plaintiffs to file the motion so that it

would be returnable on April 25, 2019. I apologize for not filing the motion yet. I had failed to

calendar the deadline at the time of the conference. My firm’s usual practice is to rely on the

docket entries to calendar all deadline, and I had anticipated that this deadline and appearance

would be reflected in a Court minute entry on the docket, as had been done previously. (See Dkt.

Nos. 38, 45, 51) In the absence of a Court minute entry I had failed to calendar the deadline and

hearing and therefore did not file the motion in time. I respectfully request that the Court allow

Plaintiffs to file the motion for default judgment by April 25, 2019, to be returnable on a date set

in consultation with Your Honor’s chambers.

        I thank the Court for its attention to this matter.


                                                             Respectfully Submitted,

                                                             /s/ Joshua S. Androphy

                                                             Joshua S. Androphy
cc:     Amir Orly (via Email)

                          Certified as a minority-owned business in the State of New York
